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UNITED STATES DISTRICT COURT
for the
EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Shaquille Brown Docket No. l:lS-MJ~274

Petition on Probation

COMES NOW Elissa F. Martins, PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Shaguille Brown, who was placed on supervision by the I-Ionorable
Theresa C. Buchanan, United States Magistrate Judge sitting in the Court at Alexandria, Virginia, on the §')_l:t
day of Julx, 2_0_1_§, who fixed the period of supervision at one §l) year, and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:

-See Page 2-

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

See Attachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause Why supervision should not be revoked.

Returnable Date: /0 r/[F '/g 3 /O-'OO M\

 

ORDER OF COURT
LF“/

Consi ered and ordered this l day of &é,

20 l and ordered filed and made a part of he
records in the above case.

/ ISJ'

` heres arro|| Buchanan
' States Magistrate Judge

Tliéesa C. Buchanan
United States Magistrate Judge

TO CLERK'S OFFICE

l declare under the penalty of perjury that the
foregoing is true and correct.

Executed on:

ll}igita||;.l signed by E|issa F,

M ?‘ mgm Martins

Da\!: 2015.09`|412;03;02 04'00'

 

Elissa F. Martins
U.S. Probation Offlcer
(703) 299-2309

Place Alexandria, Virginia

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The Honorable Theresa Carrol Buchanan Page 2
RE: BROWN, Shaquille

OFFENSE: Disorderly Conduct

SENTENCE: The defendant was placed on one (l) year supervised probation with the following special
conditions: 1) The defendant shall serve five (5) days in jail (defendant remanded to USMS); 2) No extra
special conditions of supervised probation are imposed; The defendant shall follow the pretrial conditions
imposed in Maryland; if a Violation Petition is filed in Maryland, the probation officer here in Eastem District
of Virginia (Alexandria Division) shall file a Violation Petition as well; and 3) No fine imposed; a mandatory
$25 special assessment shall be paid within thirty (30) days.

ADJUSTMENT TO SUPERVISION: Mr. Brown is being supervised by U.S. Probation Officer (USPO)
Ashley Contreras of the District of Maryland, as he resides in Capital Heights, Maryland, with his mother and
grandmother. He is unemployed but enrolled in the Construction Works Program through the Maryland
Workforce Exchange on September 4, 2018. Upon completion, the defendant plans to obtain employment in
the construction field. The special assessment fee was paid on September 10, 2018.

USPO Contreras advised this officer that she is not aware of the defendant being under any type of pretrial
services supervision for the State of Maryland. She related the only pretrial supervision Mr. Brown was under,
Was related to the instant offense.

The undersigned received two (2) letters from the District of Maryland, advising this office of the defendant’s
non-compliance on supervision, specifically related to drug and alcohol use. Details are outlined below.

VIOLATIONS: The following violations are submitted for the Court’s consideration.

CONDITION 7: USE OF MARIJUANA, MDMA AND EXCESSIVE USE OF
ALCOHOL.

On August 16, 2018, Mr. Brown reported to the U.S. Probation Office in the District of Maryland for his
initial appointment with USPO Contreras. During the appointment, several attempts Were made to collect a
urine sample from the defendant, which were unsuccessful due to Mr. Brown’s erratic behavior. However, he
signed an Admission of Drug Use From, stating he had used Marijuana and “Molly” (Methylenedioxy-
methamphetamine - MDMA) on or about August 15, 2018. Additionally, a breathalyzer was conducted and
Mr. Brown blew a 0.082 BAC. The defendant admitted to drinking alcohol prior to his appointment with the
probation office. In response to the non-compliance, USPO Contreras had Mr. Brown signed a modification to
include the following special conditions: 1) You must participate in a substance abuse treatment program and
follow the rules and regulations of that program. The probation officer will supervise your participation in the
program (provider, location, modality, duration, intensity, etc.); and 2) You must submit to substance abuse
testing to determine if you have used a prohibited substance. You must not attempt to obstruct or tamper with
the testing methods. Due to the defendant’s intoxication at the initial appointment, USPO Contreras reviewed
the modification agreement again with the defendant on August 22, 2018. Mr. Brown agreed to the proposed
modification. The modification is attached to this petition for the Court’s approval.

On September 4, 2018, the undersigned received additional non-compliance information from USPO

Contreras, advising that on August 29, 2018, Mr. Brown submitted a urine screen which yielded positive
results for the use of marijuana. The defendant admitted to using marijuana on August 25, 2018,

EFM/cdp

